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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                             FORT MYERS DIVISION

UNITED STATES OF AMERICA

v.                                                         CASE NO.: 2:24-mj-1091-DNF

JOHN A. MASANOTTI, JR.

 Judge:             Douglas N. Frazier       Counsel for       Yolande Viacava
                                             Government
 Deputy Clerk:      Wendy Winkel             Counsel for       Yvette Gray
                                             Defendant:
 Court Reporter Digital                      Pretrial/         Nicholas Rice
                                             Probation
 Date/Time          May 9, 2024              Interpreter
                    01:30 PM
 Bench Time         20 minutes


                  CLERK'S MINUTES – INITIAL APPEARANCE

Defendant arrested on an Indictment from the District of Connecticut.

Defendant advised of rights, charges, penalties, etc.

Defendant requests court-appointed counsel. Based on the financial affidavit completed
by defendant and/or a financial inquiry, the Court appoints the Federal Public Defender.

Court advises defendant of Rule 20 rights. Court advised the parties of the requirements
of the Due Process Protections Act.

Defendant waives his/her rights to both an identity hearing and production of the warrant.

Government is not seeking the defendant’s detention but requests conditions of release.

Defendant has no objection to the conditions proposed.

ORDER OF REMOVAL RULE 5/32.1 TO ENTER
